     Case: 1:21-cv-04047 Document #: 17 Filed: 09/10/21 Page 1 of 2 PageID #:177




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

LALBHAI PATEL, BEENA HAIR SALON,)
INC., MICHAEL SCOTT DAVIS,      )
ALEXION CORP.,                  )
           Plaintiffs,          )
                                )
v.                              )   CASE NO. 1:21-CV-04047
                                )
STAC BIZNESS SOLUTIONS, LLC and )
SHAWNA AHO,                     )
                                )
           Defendants.          )
                                )
                       STIPULATION TO DISMISS

        Defendants, STAC BIZNESS SOLUTIONS, LLC and SHAWNA AHO and Plaintiffs
LALBHAI PATEL, BEENA HAIR SALON, INC., MICHAEL SCOTT DAVIS and ALEXION
CORP., by their respective counsels, hereby stipulate that all claims in this matter be dismissed
without prejudice and without costs pursuant to settlement. Defendants and Plaintiffs, by their
respective counsels, further stipulate that the instant Stipulation to Dismiss be converted to a
Stipulation to Dismiss with prejudice and without costs on October 31, 2021.


                                                    /s/ Paige M. Neel_____
                                                    Paige M. Neel
                                                    Attorney for Defendants Solutions LLC

                                                    /s/Alexander N. Loftus
                                                    Alexander N. Loftus
                                                    Attorney for Plaintiffs
Dated: September 10, 2021


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     Case: 1:21-cv-04047 Document #: 17 Filed: 09/10/21 Page 2 of 2 PageID #:178




            CERTIFICATE OF SERVICE AND NOTICE OF ELECTRONIC FILING

        I hereby certify that on September 10, 2021, a copy of the foregoing Stipulation for

Dismissal was filed and served on parties electronically by using ECF filing system.



                                             /s/ Mary Puhr




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